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            Exhibit 13
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FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUR.EAU OF INVESTIGATION


                                                                                                                            Date of entry        02/11/2015



              On cJanuary 29, 2015, MARTIN SHKRELI, Ch:Lef Executive Officer (CEO),
         TURI1</G PHARMACE:UTICALS (TURTt<JG),




                                        , was interviewed at the United States
         Attorney's Office (USAO), Eastern District. of New York (EDNY), by Special
         Agent (SA) Christopher S. Delzott.o, SA Michael C. Braconi, Assistant. United
         States Attorney (AUSA) Winston Paes, AUS.A Alixandria Smith, and Paralegal
         Axnelia Clark. After being advised of the identity of tne interviewing
         officials and the nature of the interview, SHKRELI stated the following:

             SHKRELI contacted EDNY to set up the captioned interview because of a
         published Bloomberg article titled, "Ret.rophin (RTRX) Founder Said Probed
         Over Securities Dealings.'' SHKRELI's goal of the captioned interv~ew was to
         get to the bot.tom of the aforementioned article.   SHKRELI also believed
         that there were erroneous assumptions made in the article titled, "Biotech
         Company Retrophin Fired CEO Because of Stock Irregularities", authored by
         PAUL BARRETT. SHKRELI was not sure what stock irregularities took place.
         RTRX's Board of Direct.ors (BOD) never once brought. up securities violations
         in conversations with SHKRELI.

            In or around September 3 0, 2014, STEVE RICHARDSON and STEVE ASE:LAGE
         v~sit.ed SHKRELI in his RTRX office. RICHARDSON and ASELAGE informed SHKRELI
         that they no longer wanted SHKRELI to remain as the CEO of RTRX. RICHARDSON
         said something to the effect of, "I think it i.s time for someone else to
         become the CEO of RTRX." SHKRELI was disappointed because he built the RTRX
         business. SHI<:RELI single-handedly grew RTRX's share price from $3 per share
         to $25 per share. RTRX a1so becarne a leader i.n t.h.e bio-technoloqy industry
         under SHKRELI. SHKR~LI responded to RICHARDSON and ASELAGE by asking the
         quest.ion, Have you asked the shareholders? RICHARDSON and ASELAGE told
         SHKRELI that they were not planning on obt.aininq any additional input from




   lnvestigationon     01/29/2015           at   Brooklyn, New York, United States                                (In Person)

   F~# 318D-NY-4644148                                                                                                       Date drafted     Ci 2 / Ci 3 / 2 Cl 15

   ~    DELZOTTO CHRISTOPHER S, Michael C.                                Braconi

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